
78 N.Y.2d 874 (1991)
The People of the State of New York, Respondent,
v.
Dwayne Brown, Appellant.
Court of Appeals of the State of New York.
Argued April 26, 1991.
Decided June 4, 1991.
Sam A. Schmidt for appellant.
Robert M. Morgenthau, District Attorney (Hilary Hassler and James M. McGuire of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order affirmed. There was no abuse of discretion in permitting *876 the police officers' testimony, with cautionary instructions.
